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     Dwayne Farnsworth (13209)
 2   COX LAW OFFICES
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 5   Attorney for Debtor

 6
                              UNITED STATES BANKRUPTCY COURT
 7
                                 FOR THE DISTRICT OF ARIZONA
 8
     In re                                        )      In Proceedings Under
 9                                                )      Chapter Seven
     DANIELLE KRISTINE LAFATA,                    )
10                                                )      Case No. 2:19-bk-04795-PS
                                                  )
11                         Debtor.                )
                                                  )
12                                                )
     DANIELLE KRISTINE LAFATA,                    )
13                                                )
                           Movant,                )      NOTICE OF MOTION TO AVOID
14   vs.                                          )      JUDGEMENT LIEN IMPAIRING
                                                  )      DEBTOR’S EXEMPTION AND
15   DISCOVER BANK,                               )      BAR DATE
                                                  )
16                         Respondent.            )
                                                  )
17
               NOTICE IS HEREBY GIVEN that the above-captioned Debtor has filed a
18   MOTION TO AVOID LIEN under Section 522(2)(f) of the Bankruptcy Code.

19                   FURTHER NOTICE IS GIVEN that an affected lienholder, pursuant to Local
     Bankruptcy Rule 4003, shall have 23 (Twenty) days after the date of the service of the Motion
20   and this Notice within which to object by filing with the Court a response requesting a hearing
     and to serve a copy of any such response upon the Debtors' attorney whose address is: COX
21   LAW OFFICES, P.O. Box 2324, Gilbert, AZ 85299, and to serve a copy of the response upon
     any other affected lienholder named in the Debtor’s Motion.
22
             DATED June 5, 2019
23

24                                                COX LAW OFFICES

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                                                   /s/ Dwayne Farnsworth #13209
26                                                Jeffrey Cox
                                                  Dwayne Farnsworth
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